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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
---------------------------------------------------------------X
SECURITIES AND EXCHANGE COMMISSION, :
                                                               :
                                    Plaintiff,                 :
                                                               :
         -v-                                                   :      No. 1:23-cv-05326-LAK
                                                               :
LEGEND VENTURE PARTNERS LLC,                                   :
                                                               :
                                    Defendant.                 :
---------------------------------------------------------------X

                               [PROPOSED]
                         ORDER APPROVING SECOND
          INTERIM APPLICATION OF BERKELEY RESEARCH GROUP, LLC
                  FOR ALLOWANCE OF COMPENSATION AND
         REIMBURSEMENT OF EXPENSES INCURRED DURING THE PERIOD
         OCTOBER 1, 2023 THROUGH AND INCLUDING DECEMBER 31, 2023

        THIS MATTER coming before the Court on the Second Interim Application of Berkeley

Research Group, LLC (“BRG”) as tax advisor to Melanie L. Cyganowski, the court appointed

receiver herein (the “Receiver”), for Allowance of Compensation and Reimbursement of Expenses

Incurred During the Period October 1, 2023 through and including December 31, 2023 (the

“Interim Application”)1 [Dkt. No.            ]; and the Court having considered the Interim Application

and exhibits and other documents filed in support of the Interim Application; and the Court having

found that the Interim Application complies with applicable standards for awarding fees and

expenses; and after due deliberation and for good and sufficient cause shown; it is hereby

        ORDERED that the Interim Application for the period covering October 1, 2023 through

December 31, 2023 (the “Application Period”) is granted; and it is further




1
 Capitalized terms utilized but not otherwise defined herein shall have the meaning ascribed to them in the Interim
Application

                                                        1
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         ORDERED that the fees requested by BRG for the Application Period are allowed on an

interim basis in the amount of $2,164.05 (the “Allowed Fees”); and it is further

         ORDERED that BRG’s request for reimbursement of its out-of-pocket expenses for the

Application Period is allowed on an interim basis in the amount of $1,464.68 (the “Allowed

Expenses”); and it is further

         ORDERED that the Receiver will not pay any portion of the Allowed Fees or Allowed

Expenses until further Court Order authorizing the payment of the Allowed Fees and Allowed

Expenses, except for the Holdback Amount, which will not be paid until the conclusion of the

Receivership if and to the extent allowed by the Court.

SO ORDERED.

Dated:               , 2024
         New York, New York

                                                     Hon. Lewis A. Kaplan
                                                     United States District Judge




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